United States Courts

IN THE UNITED STATES DISTRICT COURT Southern District of Texas
FOR THE SOUTHERN DISTRICT OF TEXAS -

HOUSTON DIVISION MAR 1 9 2004
Michael N. Milby, Clerk of Court

JOHN ANDERSON, et al., §
§
Plaintiffs, §
§

Vv. § CIVIL ACTION NO. H-02-3245
§
HORIZON OFFSHORE CONTRACTORS, §
INC. §
§
Defendant. §

ORDER OF DISMISSAL

Counsel for the parties have advised the court that an amicable settlement has
been reached in this action. It is ORDERED that this cause be dismissed on the merits,
without prejudice to the right of counsel to move for reinstatement within 60 days upon
presentation of adequate proof that the settlement could not be consummated. It is further
ORDERED that all motions currently pending are DENIED WITHOUT PREJUDICE. Any
movant seeking to resubmit or reurge those motions must do so within 10 days from the date
any motion for reinstatement is filed.

The court appreciates the prompt notification of settlement.

SIGNED on March 18, 2004.

Lee H. Rosenthal
United States District Judge

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